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             IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION


ANDREW RAY ANDERSON,                *
                                     ★


        Plaintiff,                  *
                                    *


             V.                     *              CV 122-077
                                     *


ALLY FINANCIAL, INC.,                *
                                    *


        Defendant.                  *
                                     ★




                                ORDER




     Before   the    Court is   Plaintiff's voluntary dismissal         with

prejudice.    (Doc. 17.)    Upon due consideration, the Court finds
dismissal is proper pursuant to Federal Rule of Civil Procedure
41(a)(2).

     IT IS THEREFORE ORDERED that this matter is DISMISSED WITH

PREJUDICE.     The Clerk is directed to TERMINATE all motions and

deadlines and CLOSE this case.     Each party shall bear its own costs

and fees.


     ORDER ENTERED at Augusta, Georgia, this            day of November,

2022.




                                  J. RANDAL HALL, CHIEF JUDGE
                                  UNITED ^TATES DISTRICT COURT
                                         IN DISTRICT OF GEORGIA
